04-RKA Document 19-2 Entered on FLSD Docket 07/07/




             COMPOSITE
              EXHIBIT B
04-RKA Document 19-2 Entered on FLSD Docket 07/07/
9:20-cv-80604-RKA Document 19-2 Entered on FLSD Docket 07/07/2020 Page
Case 9:20-cv-80604-RKA Document 19-2 Entered on FLSD Docket 07/07/2020 Page 4 of 4




   Important Course About Strictly Prohibiting Unknown Pneumonia in Wuhan
   Notice of Relevant Information

   January 2, 2020 10:28am

   Hello Everyone!

   The recent society pays close attention to the progress of the "Wuhan Unexplained Pneumonia"
   incident, and the dissemination of some false information in the early stage has definitely caused
   a certain degree of public fear.

   Our institute is conducting relevant work under the guidance of the health department. The
   content of the phone call that the National Health and Health Commission received yesterday is
   as follows：

   The National Health and Health Commission clearly requires that all relevant testing and
   experimental data and results, conclusions, shall not be published in self-media and social
   software, and must not be submitted to the media (including official media), cooperation
   agencies (including technical service companies, etc.) or leaked.


   Everyone please follow this strictly！

   With best wishes,

   Yan-Yi Wang

   Yan-Yi Wang, Ph.D.
   Professor
   Wuhan Institute of Virology
